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Case 3:09-cv-OO415-|\/||\/|C Document 1 Filed 01/29/09 Page 1 of 8

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NORTHERN D OAKLAND

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

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Defendant(s). §
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E-fi|ing

ADH

009-00415 MEJ

CASE NO.

 

EMPLOYMENT DISCRIMlNATlON
COMPLAlNT

 

 

 

 

 

1. Plaintiff resides at:
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Ciry, stare & zip COde U /Y/C~ / mo ¢"( 10 fth cit , 5/ L/ 1506
Phonc C"//L]/) g[/'ZB /O ?`52
2. Defendant is located at:
Address % /'l' 50 ’BI”\"Jl § /+Fr/ /
City, State & Zip Code ?>Q_ l k LU 14 l, § "£l Q£/ ?ZL’
3. This action is brought pursuant to Title VII of the Civil Rights Act of 1964 for employ-

ment discrimination. Jurisdiction is conferred

Equitable and other relief is sought under 42 U.S.C. Section 2000e-5(g).

4. The acts complained of in this suit concern:

a. _ Failure to employ me.

b. _ Termination of my employment.

Form-Intake 2 (Rev. 4/()5)

on this Court by 42 U.S.C. Section 2000e-5.

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Case 3:09-cv-OO415-|\/||\/|C Document 1 Filed 01/29/09 Page 2 of 8

c. _ Failure to promote me.
d. ;/Other acts as specified below.
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'be/\i.'n£ m€ 1790/ztmrw'g 677)717€77¢§/)»/7’74
4977\744714 til/mabee 63 /3167 A/H`.F 464/umw _
/wa'/m [[7,»/7)1) §J (r€w/)l€) H§F(€‘U/w L
h\j 667/»,77)76 1416 67'/717’/477% ’;37//%4//<$7;).

 

5. Defendant's conduct is discriminatory with respect to the following:
a. _,[My race or color.
b. _»/1\4y religion.
c. __ My sex.
d. _ My national origin.

e. _ Other as specified below.

 

6. The basic facts surrounding my claim of discrimination are:
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474/1444 4 7/\7¢3717/\6/74» 3 94 6'4/6@4// m 36745@ 47
/7 7 5 r 4744 04 446/737 771 /7,7§7’7‘7 57477§ 67 /77)47.47777

 

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7. The alleged discrimination occurred on or about 26` . 14 / ? 5 C» .5
(DATE)

8. l filed charges with the Federal Equal Employment Opportunity Commission (or the

Califomia Department of Fair Employment and Housing) regarding defendant's alleged

Form-Intake 2 (Rev. 4/05) - 2 -

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Case 3:09-cV-OO415-|\/|I\/|C Document 1 Filed 01/29/09 Page 3 of 8

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Case 3:09-CV-OO415-|\/|I\/|C Document 1 Filed 01/29/09 Page 4 of 8

discriminatory conduct on or about 2 0 D(’{/ 2 00 £Q .

(DATE)
9. The Equal Employment Oppor’tunity Commission issued a Notice-of-Right-to-Sue letter
Dx O&~ bia /O, 7/_&'05/

(copy attached), which was received by me on or about

 

(DATE)

10. Plaintiff hereby demands a jury for all claims for which a jury is pennitted:

Yes ‘/ No

11. WHEREFORE, plaintiff prays that the Court grant such relief as may be appropriate,

 

including injunctive orders, damages, costs, and attorney fees.

 

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DATED:

 

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IS NOT REQUIRED.) PLAINTIFF'S NAME

(PLEASE NOTE: NOTARIZA TION

 

(Pn`nted or Typed)

Form-Intake 2 (Rev. 4/05) - 3 -

 

STATE OF CALIFORN|A- Silte md Col\sumer Services Ageiicy

DEPARTMENT OF FA|R EMPLOYMENT & HOUS|NG
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ARNOLD SCHWARZENEGGER Gov¢mi

 

550-2009-00184

TTY # (BOOI 700~2320 EEOC Number:
Case Name: Maureen Stafford v. University of
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‘66 " 395'2729 Date: 1 1/25/2008

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1320 E. Shaw Avenue, Sul(e 160

Fresno, CA 93710
1569l 244-4760 .
NOTlCE TO COMPLAlNAN'l' AND RESPONDENT

611Wes,3,,(,hst,w Su,,e 1500 This is to advise you that the above-referenced complaint is being referred to
the California Department of Fair Employment and Housing (DFEH) by the U.S.

Equal Employment Opportunity Commission (EEOC). The complaint Will be filed
in accordance With Califorriia Government Code section 12960. This notice
` constitutes service pursuant to Government Code section 12962.

Los Angeles‘ CA 90017
(213) 439-6799

1615 C|ay Streat, Suite 701

 

Oak|and, CA 94612
‘5‘0'522‘294‘ No response to the DFEH is required by the r§pondent.

1 The EEOC will be responsible for the processing of this complaint. DFEH will
§§:gm:m:"é’:":;gszo not be conducting an investigation into this matter. EEOC should be contacted
i916i 446~5523 directly for any discussion of the charge. DFEH` is closing it_s case on the basis

of" processing waived to another agency."

1350._¢,Snis\m¢i,streams Notice To coiviP_LAiNANT oF main To sue
San Diego, CA 92101
ieisi 645~2681
_~ , - Since DFEH will not be issuing an accusation, this letter is also your right-to sue
notice. According to Government Code section 12965, subdivision (b), you
may bring a civil action under the provisions of the Fair Employment and

Sen Frencisco District Office

(‘)::|:n‘;"”;:‘$;;§”“° 7_°1 Housing Act against the person, employer, labor organization or employment

isio)szz~zeva agency named in the above-referenced complaint. The lawsuit may be filed in a
State of California Superior or Justice Court. Government Code section 124965,
subdivision (b), provides that such a civil action must be brought within one

2570 North Fi'rst Streat, Suite 480

San JOS€/ CA 95131 year from the date of this notice. Pursuant to Government Code section

(408’ 325`0344 12965 subdivision (dl(ll, this one-year period will be tolled during-the
pendency of the EEOC's investigation of your complaint. You should consult an
attorney to determine with accuracy the date by which a civil action must be

2101 E iF nhsi i.S 't 255-B, . . . . . . . .
same A:;,g: 9273’58 w 9 filed. This right to file a civil action may be waived in the event a settlement
agreement is signed. Questions about the right to file under federal law should

i714i asa-4sz
be referred to the EEOC.
The DFEl-l does not retain case records beyond three years after a complaint is
filed.

This Right-To-Sue Notice allowiyou to file aj)rivate lawsuit in

Remernber:
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Sincerely,

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JENN|FER L. HAHLAN
Deputy Director, Employment

Case 3:09-cv-OO415-|\/||\/|C Document 1 Filed 01/29/09 Page 6 of 8

U.S. Department of Justice

Civil Rights Division

NoTIcE oF RIGHT To sua
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950 Pennsvlvania Avenue. N. W.
15.‘ M. g . .
CERTI FI HD ' I L Karen Ferguson , EMP, PHB, Room 4239
5 0 4 3 6 3 7 7 Wa:hingron, Dc 20530

December lO, 2008
Ms. Maureen Stafford `
1444 3rd Ave., Apt. #4
Oakland, CA 94606

Re: EEOC Charge Against University of California @ Berkeley
No. 555200900184

Dear Ms. Stafford:

Because you filed the above charge with the Equal Employment
Opportunity Commission, and the Commission has determined that it will not
be able to investigate and conciliate that charge within 180 days of the
date the Commission assumed jurisdiction over the charge and the
Department has determined that it will not file any lawsuit(s) based
thereon within that time, and because you have specifically requested this
Notice, you are hereby notified that you have the right to institute a
civil action under Title VII of the Civil Rights Act of 1964, as amended,
42 U.S.C. ZOOOe, et seq., against the above-named respondent.

If you choose to commence a civil action, such suit must be filed in
the appropriate Court within 90 days of your receipt of this Notice. If
you cannot afford or are unable to retain an attorney to represent you,
the Court may, at its discretion, assist you in obtaining an attorney. If
you plan to ask the Court to help you find an attorney, you must make this
request of the Court in the form and manner it requires. Your request to
the Court should be made well before the end of the time period mentioned
above. A request for representation does not relieve you of'the
obligation to file suit within this 90-day period.

The investigative file pertaining to your case is located in the EEOC
Oakland Local Office, Oakland, CA.

This Notice should not be taken to mean that the Department of
Justice has made a judgment as to whether or not your case is meritorious.

Sincerely,

Grace Chung Becker
Acting Assistant Attorney General
Civi Rights Division

j 4

ren L. Ferguson
Supervisory Civil Rights Analyst
Employment Litigation Section

   
 

by

cc: Oakland Local Office, EEOC
University of California @ Berkeley

Case 3:09-cv-OO415-|\/||\/|C Document 1 Filed 01/29/09 Page 7 of 8

U.S. EQUAL EMPLOYMENT OPPORTI.H\JITY COMMISSION

Oakland Local Oft'ice iaoi city sum sum iivo.N
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(510) 637-3230

DEC l 0 2008 rrY (510) 637-3234
l Ficx (510) 637-3235

 

Ms. Maureen Stafford
EEOC Charge No. 555-2009-00184

While Title VII and the Americans with Disabilities Act require you to
obtain a right to sue Notice before you can bring a lawsuit, you may
sue under the Age Discriminati'on in Employment Act (ADEA) any time 60
days after your charge was filed until 90 days after you receive
Notice that the Equal Employment Opportunity Commission (EEOC) has
completed action on your charge.

Because the EEOC is closing your case upon issuance of the attached
Notice of Right to Sue, your lawsuit under the ADEA must also be
brought within 90 days of your receipt of this Notice. Otherwise,
your right tro sue under the ADEA is lost.

If you have any questions as to your right to sue, please call this
office or consult a private attorney.

Case 3:09-cv-OO415-|\/||\/|C Document 1 Filed 01/29/09 Page 8 of 8

*** CUlVlPLA|lllT`OF DlSCR|M|NAT|Olll ***

UNDER THE PRDVlSlDlllS OF THE CAL|FDRN|A EEOC CHARGE # 555_2009_00184
DFEH#EzooeoQMozos-oo-asb

FA|R ElVlPl.DYl'l/lElllT AND HOUS|NG ACT
M

CDMFLAlNANT’S NAME lindicate Mr. oi Ms.l -
Maureen Siaflord ` {510i393.0752
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1444 - 3"’ Aveiiue Apt. 4

city
Ualilaiid CA 94606 Alameda

STATE ZlP CDDE COUNTY

 

NAMED lS THE EMPLUYER, PERSUN, LABOR ORGANIZAT|UN, EMPLOYMENT AGENCY APPRENT|CESH|P CDMMITTEE, OR

 

 

 

 

 

STATE UR LOCAL GOVERNMENT AGENCY WHO DISCR|MINATED AGAINST ME.'

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because of my Race lAfrican American, Colorl Sex lFemale) Age (59) Heligion lJehovah's

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in violation of the California Fair Employment and Housing Act.

rish to pursue this matter in court. l hereby request that the Department of Fair`Employmerit and Housing provide a rlght-to-sue notice. l understand that
want a federal notice of right to sue, l must visit the U.S. Equal Employment Opportunity Cornmission lEEOC) to file a complaint within 30 days of

eipt of the DFEH "Notice of Case Closure," or Within 300 days of the alleged discriminatory act, whichever is earlier

ive not bean coerced into making this request, nor do l make it based on fear of retaliation if l do not do so. l understand it is the Department of Fair
o|oyment and Housing s policy to not process or reopen a complaint once the complaint has been closed on the basis of "Complainant Elected Court

ion."
'~lare under penalty of perjury under the laws of the State of Californla that the foregoing is true and correct ot my own knowledge except as to matters

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City COMPLA|NANT' S SiGNATURE/GUARD|AN AD LiTEM

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